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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

JOHN MITCHELL                                   §
                                                §
        Plaintiff,                              §
                                                §
vs.                                                         NO. 2:24-CV-00079-Z-BR
                                                §
TYSON FOODS, INC.,                              §
                                                §
        Defendant.                              §
                                                §

      PLAINTIFF’S UNOPPOSED MOTION FOR CONTINUANCE OF SCHEDULING
                              CONFERENCE

        Now comes Plaintiff John Mitchell (“Plaintiff”), through undersigned counsel, who

respectfully moves this Court for a continuance of the scheduling conference set before this

Court on Thursday, August 22, 2024.

        On July 22, 2024, this Court issued an Order to the parties to submit a joint proposed

scheduling order and set an in-person Rule 16 Scheduling Conference for August 22, 2024 at

1:30 PM in US Courthouse, Courtroom 2nd Floor, 205 S. E. 5th Ave., Amarillo, TX before

Magistrate Judge Lee Ann Reno.

        Attorney Lexis Anderson, who was authorized to appear pro hac vice before this Court

on August 15, 2024, planned on attending the conference on behalf of Plaintiff. However,

Attorney Anderson currently has a family health emergency that requires her attention and

renders her unable to travel this week for the conference. See Declaration of Attorney Lexis

Anderson.

        On August 16, 2024, Plaintiff’s counsel contacted Defendant’s counsel via E-Mail to

confer regarding Plaintiff’s request for a continuance. Defendant is unopposed to a brief


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continuance of the scheduling conference in this case. Counsel for both parties discussed their

upcoming availability and propose to the Court the following alternative dates: August 29,

September 3, September 4, September 9, or September 10.

       WHEREFORE, Plaintiff respectfully requests that he be granted a continuance of the

scheduling conference currently set for August 22, 2024 at 1:30 pm to a later date selected by

this Court.

Date: August 19, 2024                        Respectfully submitted,

                                             /s/ Lexis Anderson

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                                 Email: rbiggs@mhba.com

                                 Attorneys for Plaintiff John Mitchell




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

JOHN MITCHELL                                   §
                                                §
        Plaintiff,                              §
                                                §
vs.                                                        NO. 2:24-CV-00079-Z-BR
                                                §
TYSON FOODS, INC.,                              §
                                                §
        Defendant.                              §
                                                §


      [PROPOSED] ORDER GRANTING PLAINTIFF’S UNOPPOSED MOTION FOR
                CONTINUANCE OF SCHEDULING CONFERENCE

        Upon consideration of Plaintiff’s Unopposed Motion for Continuance of Scheduling

Conference, and the entire record, it is hereby ORDERED that the Motion is GRANTED and the

scheduling conference is reset for _______________________.

        Absent further order of the Court, all other deadlines remain unchanged.

Dated: ____________________
                                                    _______________________________
                                                    UNITED STATES DISTRICT JUDGE




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                                 CERTIFICATE OF SERVICE

       I certify that on August 19, 2024, I served the foregoing PLAINTIFF’S UNOPPOSED

MOTION FOR CONTINUANCE OF SCHEDULING CONFERENCE by electronically

filing the foregoing with the Clerk of the Court for the United States District Court for the

Northern District of Texas by using the CM/ECF system. Participants in the case are registered

CM/ECF users, and service will be accomplished by the CM/ECF system.



                                                      /s/ Lexis Anderson
                                                      Lexis Anderson




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                              Declaration of Attorney Lexis Anderson

I, Lexis Anderson, declare:

   1. I am over 18 years of age and competent to testify in this manner.

   2. I live in Bastrop County, Texas and I am counsel for Plaintiff in the above-captioned

       matter.

   3. All statements made in this declaration are true to the best of my own personal

       knowledge.

   4. On July 22, 2024, this Court issued an Order to the parties to submit a joint proposed

       scheduling order and set an in-person Rule 16 Scheduling Conference for August 22,

       2024 at 1:30 PM in US Courthouse, Courtroom 2nd Floor, 205 S. E. 5th Ave., Amarillo,

       TX before Magistrate Judge Lee Ann Reno.

   5. I intended to appear on behalf of Plaintiff at the scheduling conference.

   6. A family health emergency now prevents me from traveling to the in-person scheduling

       conference in Amarillo, TX on the scheduled day.

   7. My mother has terminal cancer and was recently hospitalized for several weeks. A

       follow-up surgery has since been scheduled which conflicts with the scheduling

       conference.

   8. As her primary caretaker, I am responsible for her care after the procedure. Her

       anticipated condition and care needs prevent me from traveling at this time.

   9. I contacted counsel for Defendant via E-Mail on the morning of August 16, 2024 to

       inform them of this situation and inquire as to their position regarding Plaintiff’s Motion

       for Continuance of the Scheduling Conference. Defendant is unopposed to a brief




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       continuance and the parties propose alternative available dates for a scheduling

       conference in this matter.

       I declare under penalty of perjury of the laws of the United States of America that the

foregoing is true and correct. I executed this declaration on August 19, 2024.

                                                     /s/ Lexis Anderson
                                                     Lexis Anderson




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